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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                             :
In re                                        :       Chapter 11
                                             :       (Subchapter V)
SMILE KRAFTERS, P.C.,                        :
                                             :       Bankruptcy No. 24-12256 (PMM)
                                             :
                       Debtor.               :
                                             :

           DEBTOR’S MOTION FOR ENTRY OF AN ORDER PURSUANT TO
        BANKRUPTCY RULES 2002(a)(7) AND 3003(c)(3), (I) FIXING A BAR DATE
            FOR FILING PROOFS OF CLAIM AND (II) APPROVING FORM
               OF BAR DATE ORDER AND RELATED PROCEDURES

TO:     THE HONORABLE PATRICIA M. MAYER,
        UNITED STATES BANKRUPTCY JUDGE

        Smile Krafters P.C. (the “Debtor”), as debtor and debtor-in-possession, by and through its

undersigned attorney, hereby files this motion for entry of an order pursuant to Federal Rules of

Bankruptcy Procedure 2002(a)(7) and 3003(c)(3), (i) fixing a bar date for filing proofs of claim

and (ii) approving form of bar date order and related procedures (the “Motion”), and in support

thereof represents as follows:

                                 JURISDICTION AND VENUE

        1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding within the meaning of 28 U.S.C. §§ 157(b)(2)(A) and (O).

        2.     Venue of this proceeding and the Motion in this Court is proper under 28 U.S.C.

§§ 1408 and 1409.

        3.     The statutory predicates for the relief sought herein are Sections 105(a), 501, 502

and 1111(a) of Title 11 of the United States Code (the “Bankruptcy Code”) and Federal Rules of




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Bankruptcy Procedure 2002(a)(7), 3003(c)(3) and 5005(a) and Local Bankruptcy Rule 9014-

2(a)(7).

                                       BACKGROUND

       4.      On June 30, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

reorganization under Subchapter V of Chapter 11 of the Bankruptcy Code. The Debtor is

continuing in possession of its assets and is operating its business as a debtor-in-possession

pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

       5.      The Debtor is a Pennsylvania professional corporation which operates a clinical

dental practice in Allentown, PA

       6.        On September 5, 2024, the Debtor filed its Subchapter V plan of reorganization

(the “Plan”) [Doc. No. 55].

                                   THE RELIEF REQUESTED

       6.      In connection with the Plan, the Debtor seeks to establish bar dates for filing proofs

of claim.

A.     General Bar Date and Governmental Bar Date

       7.      Bankruptcy Rule 3003(c)(3) provides that “[t]he court shall fix and for cause shown

may extend the time within which proofs of claim or interest may be filed.” Fed.R.Bankr.P.

3003(c)(3). Section 502(b)(9) of the Bankruptcy Code provides that a proof of claim filed by a

governmental unit shall be timely filed if it is filed before 180 days after the petition date.

       8.      By this Motion, the Debtor seeks entry of an order, substantially in the form

attached as Exhibit A (the “Bar Date Order”) (a) establishing November 1, 2024 as the general

bar date (“General Bar Date”) by which all entities must file proofs of claim against the Debtor on

account of claims arising, or which are deemed to have arisen by virtue of section 501(d) of the



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Bankruptcy Code, prior to the Petition Date, including claims allowable under section 503(b)(9)

and 503(b)(l)(A)(ii) of the Bankruptcy Code (collectively, the “Prepetition Claims”), and (b)

establishing December 30, 2024 as the governmental bar date (“Governmental Bar Date”) by

which each governmental unit (as defined in section 101(27) of the Bankruptcy Code) that asserts

a claim against the Debtor that arose or is deemed to arise prior to the June 30, 2024, including

claims allowable under sections 503(b)(9) and 503(b)(l)(A)(ii) of the Bankruptcy Code

       9.      Based upon the proposed procedures, the creditors that are not governmental units

will have more than the twenty days required by Bankruptcy Rule 2002(a)(7) of the time fixed for

filing a proof of claim. In addition, governmental units will have the 180 days required by section

502(b)(9) of the Bankruptcy Code (“Governmental Bar Date”). Accordingly, the proposed

General Bar Date and Governmental Bar Date will afford creditors sufficient notice and

opportunity to file proofs of claim.

B.     Proofs of Claim

       10.     The proposed Bar Date Order provides that all persons and entities holding

Prepetition Claims, including, without limitation, the following entities, must file proofs of claim

on or before the General Bar Date:

               (a)     Any entity (except for governmental units) whose Prepetition Claim against
                       the Debtor is not listed in the Schedules or whose Prepetition Claim is listed
                       as disputed, contingent, or unliquidated and that desires to participate in this
                       chapter 11 case or share in any distribution in this chapter 11 case; and

               (b)     Any entity that believes that its prepetition claim is improperly classified in
                       the Schedules or is listed in an incorrect amount and that desires to have its
                       claim allowed in a classification or amount other than that identified in the
                       Schedules.

       11.     Each proof of claim must substantially comply with Official Bankruptcy Form 410,

In addition, each proof of claim must attach copies of any writings upon which the claim is “based



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in accordance with Bankruptcy Rules 3001(c) and 3001(d) 1. All proofs of claim must be originally

executed and actually received on or before the General Bar Date or Governmental Bar Date, as

applicable, by the Clerk of the Bankruptcy Court.

        12.       Proofs of claim must filed through the Court's CM/ECF system, be mailed by first

class U.S. mail or delivered by messenger or overnight courier. Proofs of claim sent by facsimile,

telecopy, or e-mail will not be accepted. Proofs of claim will be deemed timely filed only if

actually received on or before the General Bar Date or, if applicable, the Governmental Bar

Date, by the Clerk of the Bankruptcy Court for the Eastern District of Pennsylvania:


Office of the Clerk
United States Bankruptcy Court Eastern District of Pennsylvania
Robert N.C. Nix, Sr. Federal Courthouse 900 Market Street, Suite 400
Philadelphia, PA 19107


        13.       Pursuant to the proposed Bar Date Order, an entity need not file a proof of claim

with respect to the following claims or interests:

                  (a) a claim against the Debtor for which a proof of claim has already been filed
                  with the Clerk of the Bankruptcy Court for the Eastern District of Pennsylvania
                  utilizing a claim form that substantially conforms to Official Form 410;

                  (b) a claim that is listed on the Schedules and is not described as “disputed,”
                  “contingent;” or “unliquidated” provided that the creditor agrees with the amount
                  and nature of the claim as scheduled;

                  (c) an administrative expense claim pursuant to section 503(b) of the Bankruptcy
                  Code (except for unpaid claims allowable under section 503(b)(9) or
                  503(b)(l)(A)(ii) of the Bankruptcy Code);



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   Bankruptcy Rule 3001(c) requires as follows: “When a claim, or an interest in property of the Debtor securing
 the claim, is based on a writing, the original or a duplicate shall be filed with the proof of claim. If the writing has
 been lost or destroyed, a statement of the circumstances of the loss or destruction shall be filed with the claim.”
 Fed.R.Bankr.P. 3001(c). Bankruptcy Rule 300l(d) requires that a “[s]ecurity interest in property of the Debtor is
 claimed, the proof of claim shall be accompanied by evidence that the security interest has been perfected.”
 Fed.R.Bankr.P. 300l (d).


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               (d) an administrative expense claim for post-petition fees and expenses incurred
               by any professional pursuant to sections 330, 331, and 503(b) of the Bankruptcy
               Code;

               (e) a claim (or portion thereof) that has been paid by the Debtor; and

               (f) a claim that has been allowed by an order of this Court entered on or before the
               General Bar Date or, if applicable, Governmental Bar Date.

       14.     Any entity exempted from filing a proof of claim or interest pursuant to (a) through

(f) above, however, must still timely file a proof of claim for any other claim that does not fall

within the exclusions provided by (a) through (e).

       15.     Pursuant to Bankruptcy Rule 3003(c)(2), the Debtor proposes that any holder of a

claim against the Debtor who is required, but fails, to file a proof of such claim in accordance with

the Bar Date Order on or before the General Bar Date or, if applicable, the Governmental Bar Date,

shall be forever barred, estopped, and enjoined from asserting such claim against the Debtor (or

filing a proof of claim with respect thereto), and the Debtor and its property shall be forever

discharged from any and all indebtedness or liability with respect to such claim, and such holder

shall not be permitted to vote to accept or reject any chapter 11 plan or participate in any

distribution in the Debtor’s chapter 11 case on account of such claim or to receive further notices

regarding such claim.

C.     Proposed Notice Procedures

       16.     The Debtor proposes to serve on all known entities holding potential Prepetition

Claims: (a) a notice of the Bar Dates substantially in the form of attached as Exhibit B (the “Bar

Date Notice”) and (b) the Bar Date Order.by United States mail, first-class postage prepaid.

       17.     The Debtor submits that the proposed Bar Dates will provide potential claimants

with an adequate amount of time within which to prepare and file proofs of claim.




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                                               NOTICE

        18.     Notice of this Motion has been given to (a) the United States Trustee, ( b ) t h e

S u b c h a p t e r V t r u s t e e , and (c) those parties who have requested special notice pursuant to

Bankruptcy Rule 2002. The Debtor submits that the foregoing notice is sufficient for entry of an

order on the Motion.

                                       NO PRIOR REQUEST

        19.     No previous request for the relief sought in this Motion has been made to this or

any other court.

        WHEREFORE, the Debtor respectfully requests that the Court enter an order that (a)

establishes the Bar Dates and the related claims procedures proposed herein, (b) approves the form

and manner of notice thereof to creditors and other parties-in-interest, and (c) granting such other

and further relief as the Court may deem just and proper.


Dated: September 12, 2024
                                                        Respectfully submitted,

                                                        KURTZMAN | STEADY, LLC


                                                By:    /s/ Jeffrey Kurtzman_____
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